       Case 4:21-cv-03090-DMR Document 28 Filed 12/03/21 Page 1 of 1




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 5
                                         UNITED STATES DISTRICT COURT
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                                        NORTHERN DISTRICT OF CALIFORNIA
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 8      Brian Whitaker,
 9                   Plaintiff,
10          v.                                            Case: 4:21-cv-03090-DMR
11      Super Emeryville, LLC, a California
        Limited Liability Company,                        ORDER       GRANTING       JOINT
12
                                                          STIPULATION
                           Defendants.
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            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT: The parties are
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     relieved from their obligation to conduct the joint site inspection under General
17   Order No. 56. All dates based on the site inspection shall be recalculated as of the
18   date of this Order.
19
     IT IS SO ORDERED.
20
21   Dated: December 3, 2021                    __________________________________
                                                HONORABLE DONNA M. RYU
22                                              UNITED STATES MAGISTRATE JUDGE
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     ORDER Granting Joint Stipulation                 Case No. 4:21-cv-03090-DMR
